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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                              )
UNITED STATES OF AMERICA,                     )
                                              )
               v.                             )
                                              )       Case No. 1:18-CR-00260-ABJ
W. SAMUEL PATTEN,                             )
                                              )
                       Defendant.             )       FILED UNDER SEAL
                                              )


        DEFENDANT W. SAMUEL PATTEN’S MOTION FOR LEAVE TO FILE
                UNDER SEAL EXHIBIT 1 TO HIS MOTION TO
             MODIFY CONDITIONS OF RELEASE TEMPORARILY

       Defendant W. Samuel Patten, through undersigned counsel, hereby moves this Honorable

Court for leave to file under seal Exhibit 1 to his Motion to Modify Conditions of Release

Temporarily.1 Despite the general policy that public access to judicial proceedings and records is

important to the proper functioning of our justice system, there are compelling reasons and good

cause in this instance why Exhibit 1 should not be publicly disclosed. Exhibit 1 includes details

about a trip Mr. Patten wishes to take and should be filed under seal in order to protect Mr. Patten

and his family from unwarranted media attention or risks. As the Court is aware, Mr. Patten’s case

has garnered significant publicity and media coverage. A proposed under seal order is attached.




1
  In order to comply with this Court’s procedures for a filing of this nature, undersigned counsel
has modeled this request after similar motions that have previously been filed and granted on
behalf of the defendant in United States v. Richard W. Gates, III, Case No. 1:17-CR00201-ABJ
(e.g., Dkts. 219, 267, 297 and 331).
                                                  1
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Dated: October 9, 2018                    Respectfully submitted,


                                          W. SAMUEL PATTEN
                                          By Counsel


                                          /s/ Stuart A. Sears
                                          Stuart A. Sears
                                                  Counsel for W. Samuel Patten
                                          SCHERTLER & ONORATO, LLP
                                          901 New York Ave., NW
                                          Suite 500 West
                                          Washington, D.C. 20001
                                          Ph: 202-628-4199
                                          Fax: 202-628-4177
                                          ssears@schertlerlaw.com




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                               CERTIFICATE OF SERVICE

       I certify on the date set forth above, that a true and correct copy of the foregoing Motion

for Leave to File Under Seal Exhibit 1 to Defendant’s Unopposed Motion to Modify Conditions

of Release Temporarily was transmitted by e-mail to the following:


              Michael C. DiLorenzo
              U.S. ATTORNEY'S OFFICE FOR THE DISTRICT OF COLUMBIA
              555 Fourth Street, NW
              Washington, DC 20530
              (202) 252-7809
              Email: michael.dilorenzo@usdoj.gov




                                                    /s/ Stuart A. Sears
                                                    Stuart A. Sears
                                                            Counsel for W. Samuel Patten
                                                    SCHERTLER & ONORATO, LLP
                                                    901 New York Ave., NW
                                                    Suite 500 West
                                                    Washington, D.C. 20001
                                                    Ph: 202-628-4199
                                                    Fax: 202-628-4177
                                                    ssears@schertlerlaw.com




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